     Case 1:12-cr-00060-JD   Document 16   Filed 05/11/12   Page 1 of 4




                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

   v.                                  Criminal No. 12-cr-060-01-JD

Jimmy Ambrosi



                 ORDER OF DETENTION PENDING TRIAL


    In accordance with 18 U.S.C. § 3142(f), a hearing was

conducted today for the purpose of determining whether the

defendant should be detained.      The court issued its detention

order orally from the bench, and this written order incorporates

those findings and rulings.      See 18 U.S.C. § 3142(i)(1).


                             Legal Standards

    Section 3142(f) of the Bail Reform Act, 18 U.S.C. §§ 3141-

3156, “does not authorize a detention hearing whenever the

government thinks detention would be desirable, but rather

limits such hearings” to the circumstances listed in 18 U.S.C.

§§ 3142(f)(1) and (f)(2).      United States v. Ploof, 851 F.2d 7,

10 (1st Cir. 1988).    In this case, the government invokes §

3142(f)(1)(C), asserting that a detention hearing is warranted
     Case 1:12-cr-00060-JD   Document 16   Filed 05/11/12   Page 2 of 4




because the defendant is charged with drug offenses that carry

maximum sentences of ten or more years.

    In this case, the defendant is charged by indictment with

one count of conspiracy to distribute a controlled substance in

accordance with 21 U.S.C. § 841(a)(1) and § 845 and sixteen

counts of distribution of a controlled substance in accordance

with 21 U.S.C. § 841(a)(1).     The drug charges satisfy the

parameters of § 3142(f)(1)(C), and, accordingly, the detention

hearing was appropriately requested.

    Pursuant to § 3142(f), the court must determine whether any

condition or combination of conditions set forth in § 3142(c)

will reasonably assure the appearance of the defendant (“risk of

flight”) and the safety of any other person and the safety of

the community (“dangerousness”) 18 U.S.C. § 3142(f); United

States v. Patriarca, 948 F.2d 789, 791 (1st Cir. 1991).             In

making this determination, the court must consider the

following: (1) the nature and circumstances of the offense

charged; (2) the weight of the evidence as to guilty; (3) the

history and characteristics of the accused, including family

ties, past history, financial resources and employment; and (4)

the nature and seriousness of the danger to any person or the

community that would be posed by a release.         18 U.S.C. §

3142(g).



                                    2
      Case 1:12-cr-00060-JD   Document 16   Filed 05/11/12    Page 3 of 4




      During the course of a hearing conducted pursuant to 18

U.S.C. § 3142, the government has the burden of persuading the

court that no condition or combination of conditions will

reasonably assure (1) the defendant’s presence at trial, United

States v. Perez-Franco, 839 F.2d 867, 870 (1st Cir. 1988); or

(2) the safety of another or the community.          Patriarca, 948 F.2d

at 793.   For its part, the government is required to prove risk

of flight by a preponderance of the evidence and to establish

dangerousness by clear and convincing evidence.              See id. at 792-

93.


                          Findings and Rulings

      At the hearing, the government argued that defendant’s

release posed a risk of both flight and danger.              After weighing

the evidence and balancing the factors laid out in 18 U.S.C. §

3142(g), the court finds that defendant failed to rebut the

presumption as to either flight or danger.          The court issued its

ruling and explained its rationale orally from the bench.                 The

court incorporates its oral ruling herein, and for the reasons

stated on the record, finds that the government met its burden

of proving that defendant’s release, even on strict conditions,

presents too serious a risk of both flight and danger.               In

short, there are no conditions or combination of conditions that




                                     3
      Case 1:12-cr-00060-JD   Document 16   Filed 05/11/12   Page 4 of 4




will reasonably assure the safety of the community or the

appearance of defendant.      Accordingly, it is ORDERED that the

defendant be detained pending trial.

      The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility, to be held separately, to the extent

practicable, from persons awaiting or serving sentences or being

held in custody pending appeal.       The defendant shall be afforded

a reasonable opportunity for private consultation with defense

counsel.   On order of a court of the United States or on request

of an attorney for the government, the person in charge of the

correctional facility shall deliver the defendant to the United

States Marshal for the purpose of appearing in connection with

court proceedings.

      SO ORDERED.




                                  __________________________
                                  Landya McCafferty
                                  United States Magistrate Judge



May 11, 2012

cc:   Jonathan Saxe, Esq.
      Debra Walsh, Esq.
      u.S. Marshal
      U.S. Probation



                                     4
